AO 440 (Rev. 06/12) Summons in a Civil Action


                                                 UNITED STATES DISTRICT COURT
                                                                          for the
                                                               Eastern District of New York

                                                                                )
                                                                                )
 Kenneth Copeland, John Doe, individually and on behalf                         )
 of all others similarly situated                                               )
                                                                                )
                                                                                )
                                                                                )
                                      Plaintiff(s)                              )
                                           v.                                   ) Civil Action No. 2:19-cv-02488(SJF)(AKT)
                                                                                )
 Post Consumer Brands, LLC                                                      )
                                                                                )
                                                                                )
                                     Defendant(s)                               )
                                                                                )

                                                           SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)              Post Consumer Brands, LLC
                                                C/O Corporation Service Company
                                                2345 Rice Street, Suite 230
                                                Roseville, MN 55113



            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are
  the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
  (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
  Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
   address are:                                 Sheehan & Associates, P.C. 505 Northern Blvd., #311, Great Neck, NY 11021



         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.

                                                                               DOUGLAS C. PALMER
                                                                               CLERK OF COURT


  Date:     4/30/2019
                                                                                        Signature of Clerk or Deputy Clerk
